Case 5:18-cv-00762-DMG-SP Document 20 Filed 07/17/18 Page 1 of 15 Page ID #:62




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     Attorneys for Defendants,
   8 COUNTY OF RIVERSIDE
   9
  10                                                   UNITED STATES DISTRICT COURT
  11                 CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  12
  13 THE ESTATE OF CLEMENTE                                                                     Case No. 5:18-cv-00762-DMG-SP
     NAJERA-AGUIRRE, and J.S., A.S.,                                                            [Hon. Dolly M. Gee, Dist. Judge;
  14 Y.S.,                                                                                      Hon. Sheri Pym, Magistrate Judge]
  15                                Plaintiffs,
                                                                                                ANSWER OF DEFENDANT TO
  16                 v.                                                                         PLAINTIFFS' COMPLAINT:
                                                                                                DEMAND FOR JURY TRIAL
  17 COUNTY OF RIVERSIDE, and DOES
     1 through 10, inclusive,
  18                                                                                            Complaint Filed:          04/13/2018
                 Defendants.                                                                    Trial Date:               None
  19
  20
  21                 Defendant COUNTY OF RIVERSIDE ("Defendant") hereby answers plaintiffs'
  22 Complaint on file herein (filed April 13, 2018) – hereinafter referred to as the
  23 “Complaint”) and defendant hereby admits, denies, and alleges as follows:
  24                 1.             Answering paragraph 1 of the Complaint, under the header "Venue and
  25 Jurisdiction": Defendant admits that this Court has jurisdiction of civil actions arising
  26 under the Constitution, laws, or treaties of the United States, including claims arising
  27 under 28 U.S.C. §§ 1331. As to the remaining allegations of this paragraph, at present,
  28 Defendant does not have sufficient knowledge, or information or belief, to enable

                                                     1               Case No. 5:18-cv-00762-DMG-SP
       G:\docsdata\EPR\Najera, et al. v. Riverside 4410-55180\Pleadings\Answer.01.Najera.docx

                    ANSWER OF DEFENDANT TO PLAINTIFFS' COMPLAINT: DEMAND FOR JURY TRIAL
Case 5:18-cv-00762-DMG-SP Document 20 Filed 07/17/18 Page 2 of 15 Page ID #:63




   1 Defendant to answer the remaining allegations contained within such paragraph, as
   2 stated, and on those grounds denies generally and specifically each and every remaining
   3 allegation contained therein.
   4                 2.             Answering paragraph 2 of the Complaint, under the header "Venue and
   5 Jurisdiction": Defendant admits that claims arising from events that occurred in the
   6 County of Riverside, California, may be brought before the venue of this Court. As to
   7 the remaining allegations of this paragraph, at present, Defendant does not have
   8 sufficient knowledge, or information or belief, to enable Defendant to answer the
   9 remaining allegations contained within such paragraph, as stated, and on those grounds
  10 denies generally and specifically each and every remaining allegation contained therein.
  11                 3.             Answering paragraph 3 of the Complaint, under the header "Parties":
  12 Defendant does not have sufficient knowledge, or information or belief, to enable
  13 Defendant to answer the allegations contained within this paragraph, as stated, and on
  14 those grounds denies generally and specifically each and every allegation contained
  15 therein.
  16                 4.             Answering paragraph 4 of the Complaint, under the header "Parties":
  17 Defendant does not have sufficient knowledge, or information or belief, to enable
  18 Defendant to answer the allegations contained within this paragraph, as stated, and on
  19 those grounds denies generally and specifically each and every allegation contained
  20 therein.
  21                 5.             Answering paragraph 5 of the Complaint, under the header "Parties":
  22 Defendant does not have sufficient knowledge, or information or belief, to enable
  23 Defendant to answer the allegations contained within this paragraph, as stated, and on
  24 those grounds denies generally and specifically each and every allegation contained
  25 therein.
  26                 6.             Answering paragraph 6 of the Complaint, under the header "Parties":
  27 Defendant does not have sufficient knowledge, or information or belief, to enable
  28 Defendant to answer the allegations contained within this paragraph, as stated, and on

                                                     2               Case No. 5:18-cv-00762-DMG-SP
       G:\docsdata\EPR\Najera, et al. v. Riverside 4410-55180\Pleadings\Answer.01.Najera.docx

                    ANSWER OF DEFENDANT TO PLAINTIFFS' COMPLAINT: DEMAND FOR JURY TRIAL
Case 5:18-cv-00762-DMG-SP Document 20 Filed 07/17/18 Page 3 of 15 Page ID #:64




   1 those grounds denies generally and specifically each and every allegation contained
   2 therein.
   3                 7.             Answering paragraph 7 of the Complaint, under the header "Parties":
   4 Defendant admits that the County of Riverside is a political subdivision of the State of
   5 California. As to the remaining allegations of this paragraph, at present, Defendant does
   6 not have sufficient knowledge, or information or belief, to enable Defendant to answer
   7 the remaining allegations contained within such paragraph, as stated, and on those
   8 grounds denies generally and specifically each and every remaining allegation
   9 contained therein.
  10                 8.             Answering paragraph 8 of the Complaint, under the header "Parties":
  11 Defendant does not have sufficient knowledge, or information or belief, to enable
  12 Defendant to answer the allegations contained within this paragraph, as stated, and on
  13 those grounds denies generally and specifically each and every allegation contained
  14 therein.
  15                 9.             Answering paragraph 9 of the Complaint, under the header "Parties":
  16 Defendant does not have sufficient knowledge, or information or belief, to enable
  17 Defendant to answer the allegations contained within this paragraph, as stated, and on
  18 those grounds denies generally and specifically each and every allegation contained
  19 therein.
  20                 10.            Answering paragraph 10 of the Complaint, under the header "Parties":
  21 Defendant does not have sufficient knowledge, or information or belief, to enable
  22 Defendant to answer the allegations contained within this paragraph, as stated, and on
  23 those grounds denies generally and specifically each and every allegation contained
  24 therein.
  25                 11.            Answering paragraph 11 of the Complaint, under the header "Statement of
  26 Facts Common to All Causes of Action":                                                     Defendant does not have sufficient
  27 knowledge, or information or belief, to enable Defendant to answer the allegations
  28 contained within this paragraph, as stated, and on those grounds denies generally and

                                                     3               Case No. 5:18-cv-00762-DMG-SP
       G:\docsdata\EPR\Najera, et al. v. Riverside 4410-55180\Pleadings\Answer.01.Najera.docx

                    ANSWER OF DEFENDANT TO PLAINTIFFS' COMPLAINT: DEMAND FOR JURY TRIAL
Case 5:18-cv-00762-DMG-SP Document 20 Filed 07/17/18 Page 4 of 15 Page ID #:65




   1 specifically each and every allegation contained therein.
   2                 12.            Answering paragraph 12 of the Complaint, under the header "Statement of
   3 Facts Common to All Causes of Action":                                                     Defendant does not have sufficient
   4 knowledge, or information or belief, to enable Defendant to answer the allegations
   5 contained within this paragraph, as stated, and on those grounds denies generally and
   6 specifically each and every allegation contained therein.
   7                 13.            Answering paragraph 13 of the Complaint, under the header "Statement of
   8 Facts Common to All Causes of Action":                                                     Defendant does not have sufficient
   9 knowledge, or information or belief, to enable Defendant to answer the allegations
  10 contained within this paragraph, as stated, and on those grounds denies generally and
  11 specifically each and every allegation contained therein.
  12                 14.            Answering paragraph 14, including subparagraphs (a)-(b), of the
  13 Complaint, under the header "Statement of Facts Common to All Causes of Action":
  14 Defendant does not have sufficient knowledge, or information or belief, to enable
  15 Defendant to answer the allegations contained within this paragraph, as stated, and on
  16 those grounds denies generally and specifically each and every allegation contained
  17 therein.
  18                 15.            Answering paragraph 15 of the Complaint, under the header "First Claim
  19 for Relief": Defendant repeats, reiterates and realleges all of the admissions and denials
  20 contained in the foregoing Answer which are set forth to each and every allegation
  21 contained in paragraphs 1 through 14, inclusive, of plaintiffs' Complaint.
  22                 16.            Answering paragraph 16 of the Complaint, under header "First Claim for
  23 Relief": Defendant does not have sufficient knowledge, or information or belief, to
  24 enable Defendant to answer the allegations contained within this paragraph, as stated,
  25 and on those grounds denies generally and specifically each and every allegation
  26 contained therein. Answering further, Defendant denies that it is liable for any and all
  27 injuries alleged by plaintiffs. Defendant also denies that plaintiffs are entitled to any
  28 relief.

                                                     4               Case No. 5:18-cv-00762-DMG-SP
       G:\docsdata\EPR\Najera, et al. v. Riverside 4410-55180\Pleadings\Answer.01.Najera.docx

                    ANSWER OF DEFENDANT TO PLAINTIFFS' COMPLAINT: DEMAND FOR JURY TRIAL
Case 5:18-cv-00762-DMG-SP Document 20 Filed 07/17/18 Page 5 of 15 Page ID #:66




   1                 17.            Answering paragraph 17 of the Complaint, under the header "First Claim
   2 for Relief": Defendant does not have sufficient knowledge, or information or belief, to
   3 enable Defendant to answer the allegations contained within this paragraph, as stated,
   4 and on those grounds denies generally and specifically each and every allegation
   5 contained therein.
   6                 18.            Answering paragraph 18 of the Complaint, under the header "First Claim
   7 for Relief": Defendant does not have sufficient knowledge, or information or belief, to
   8 enable Defendant to answer the allegations contained within this paragraph, as stated,
   9 and on those grounds denies generally and specifically each and every allegation
  10 contained therein.
  11                 19.            Answering paragraph 19 of the Complaint, under the header "First Claim
  12 for Relief": Defendant does not have sufficient knowledge, or information or belief, to
  13 enable Defendant to answer the allegations contained within this paragraph, as stated,
  14 and on those grounds denies generally and specifically each and every allegation
  15 contained therein.
  16                 20.            Answering paragraph 20 of the Complaint, under the header "First Claim
  17 for Relief": Defendant does not have sufficient knowledge, or information or belief, to
  18 enable Defendant to answer the allegations contained within this paragraph, as stated,
  19 and on those grounds denies generally and specifically each and every allegation
  20 contained therein.
  21                 21.            Answering paragraph 21 of the Complaint, under the header "First Claim
  22 for Relief": Defendant does not have sufficient knowledge, or information or belief, to
  23 enable Defendant to answer the allegations contained within this paragraph, as stated,
  24 and on those grounds denies generally and specifically each and every allegation
  25 contained therein.
  26                 22.            Answering paragraph 22 of the Complaint, under the header "First Claim
  27 for Relief": Defendant does not have sufficient knowledge, or information or belief, to
  28 enable Defendant to answer the allegations contained within this paragraph, as stated,

                                                     5               Case No. 5:18-cv-00762-DMG-SP
       G:\docsdata\EPR\Najera, et al. v. Riverside 4410-55180\Pleadings\Answer.01.Najera.docx

                    ANSWER OF DEFENDANT TO PLAINTIFFS' COMPLAINT: DEMAND FOR JURY TRIAL
Case 5:18-cv-00762-DMG-SP Document 20 Filed 07/17/18 Page 6 of 15 Page ID #:67




   1 and on those grounds denies generally and specifically each and every allegation
   2 contained therein.
   3                 23.            Answering paragraph 23 of the Complaint, under the header "First Claim
   4 for Relief": Defendant does not have sufficient knowledge, or information or belief, to
   5 enable Defendant to answer the allegations contained within this paragraph, as stated,
   6 and on those grounds denies generally and specifically each and every allegation
   7 contained therein.
   8                 24.            Answering paragraph 24 of the Complaint, under header "First Claim for
   9 Relief": Defendant does not have sufficient knowledge, or information or belief, to
  10 enable Defendant to answer the allegations contained within this paragraph, as stated,
  11 and on those grounds denies generally and specifically each and every allegation
  12 contained therein.
  13                 25.            Answering paragraph 25 of the Complaint, under header "First Claim for
  14 Relief": Defendant does not have sufficient knowledge, or information or belief, to
  15 enable Defendant to answer the allegations contained within this paragraph, as stated,
  16 and on those grounds denies generally and specifically each and every allegation
  17 contained therein.
  18                 26.            Answering paragraph 26 of the Complaint, under header "First Claim for
  19 Relief": Defendant does not have sufficient knowledge, or information or belief, to
  20 enable Defendant to answer the allegations contained within this paragraph, as stated,
  21 and on those grounds denies generally and specifically each and every allegation
  22 contained therein. Answering further, Defendant denies that they are liable for any and
  23 all injuries alleged by plaintiffs. Defendant also denies that plaintiffs are entitled to any
  24 relief.
  25                 27.            Answering paragraph 27 of the Complaint, under the header "Second
  26 Claim for Relief": Defendant repeats, reiterates and realleges all of the admissions and
  27 denials contained in the foregoing Answer which are set forth to each and every
  28 allegation contained in paragraphs 1 through 26, inclusive, of plaintiffs' Complaint.

                                                     6               Case No. 5:18-cv-00762-DMG-SP
       G:\docsdata\EPR\Najera, et al. v. Riverside 4410-55180\Pleadings\Answer.01.Najera.docx

                    ANSWER OF DEFENDANT TO PLAINTIFFS' COMPLAINT: DEMAND FOR JURY TRIAL
Case 5:18-cv-00762-DMG-SP Document 20 Filed 07/17/18 Page 7 of 15 Page ID #:68




   1                 28.            Answering paragraph 28 of the Complaint, under header "Second Claim
   2 for Relief": Defendant does not have sufficient knowledge, or information or belief, to
   3 enable Defendant to answer the allegations contained within this paragraph, as stated,
   4 and on those grounds denies generally and specifically each and every allegation
   5 contained therein.
   6                 29.            Answering paragraph 29 of the Complaint, under header "Second Claim
   7 for Relief": Defendant does not have sufficient knowledge, or information or belief, to
   8 enable Defendant to answer the allegations contained within this paragraph, as stated,
   9 and on those grounds denies generally and specifically each and every allegation
  10 contained therein.
  11                 30.            Answering paragraph 29, including subparagraphs (a)-(i), of the
  12 Complaint, under header "Second Claim for Relief": Defendant does not have
  13 sufficient knowledge, or information or belief, to enable Defendant to answer the
  14 allegations contained within this paragraph, as stated, and on those grounds denies
  15 generally and specifically each and every allegation contained therein.
  16                 31.            Answering paragraph 31 of the Complaint, under header "Second Claim
  17 for Relief": Defendant does not have sufficient knowledge, or information or belief, to
  18 enable Defendant to answer the allegations contained within this paragraph, as stated,
  19 and on those grounds denies generally and specifically each and every allegation
  20 contained therein.
  21                 32.            Answering paragraph 32 of the Complaint, under header "Second Claim
  22 for Relief": Defendant does not have sufficient knowledge, or information or belief, to
  23 enable Defendant to answer the allegations contained within this paragraph, as stated,
  24 and on those grounds denies generally and specifically each and every allegation
  25 contained therein.
  26                 33.            Answering paragraph 33 of the Complaint, under header "Second Claim
  27 for Relief": Defendant does not have sufficient knowledge, or information or belief, to
  28 enable Defendant to answer the allegations contained within this paragraph, as stated,

                                                     7               Case No. 5:18-cv-00762-DMG-SP
       G:\docsdata\EPR\Najera, et al. v. Riverside 4410-55180\Pleadings\Answer.01.Najera.docx

                    ANSWER OF DEFENDANT TO PLAINTIFFS' COMPLAINT: DEMAND FOR JURY TRIAL
Case 5:18-cv-00762-DMG-SP Document 20 Filed 07/17/18 Page 8 of 15 Page ID #:69




   1 and on those grounds denies generally and specifically each and every allegation
   2 contained therein.
   3                 34.            Answering paragraph 34 of the Complaint, under header "Second Claim
   4 for Relief": Defendant does not have sufficient knowledge, or information or belief, to
   5 enable Defendant to answer the allegations contained within this paragraph, as stated,
   6 and on those grounds denies generally and specifically each and every allegation
   7 contained therein.
   8                 35.            Answering paragraph 35 of the Complaint, under header "Second Claim
   9 for Relief": Defendant does not have sufficient knowledge, or information or belief, to
  10 enable Defendant to answer the allegations contained within this paragraph, as stated,
  11 and on those grounds denies generally and specifically each and every allegation
  12 contained therein.
  13                 36.            Answering paragraph 36 of the Complaint, under the header "Third Claim
  14 for Relief": Defendant repeats, reiterates and realleges all of the admissions and denials
  15 contained in the foregoing Answer which are set forth to each and every allegation
  16 contained in paragraphs 1 through 35, inclusive, of plaintiffs' Complaint.
  17                 37.            Answering paragraph 37 of the Complaint, under header "Third Claim for
  18 Relief": Defendant does not have sufficient knowledge, or information or belief, to
  19 enable Defendant to answer the allegations contained within this paragraph, as stated,
  20 and on those grounds denies generally and specifically each and every allegation
  21 contained therein.
  22                 38.            Answering paragraph 38 of the Complaint, under header "Third Claim for
  23 Relief": Defendant does not have sufficient knowledge, or information or belief, to
  24 enable Defendant to answer the allegations contained within this paragraph, as stated,
  25 and on those grounds denies generally and specifically each and every allegation
  26 contained therein.
  27                 39.            Answering paragraph 39 of the Complaint, under header "Third Claim for
  28 Relief": Defendant does not have sufficient knowledge, or information or belief, to

                                                     8               Case No. 5:18-cv-00762-DMG-SP
       G:\docsdata\EPR\Najera, et al. v. Riverside 4410-55180\Pleadings\Answer.01.Najera.docx

                    ANSWER OF DEFENDANT TO PLAINTIFFS' COMPLAINT: DEMAND FOR JURY TRIAL
Case 5:18-cv-00762-DMG-SP Document 20 Filed 07/17/18 Page 9 of 15 Page ID #:70




   1 enable Defendant to answer the allegations contained within this paragraph, as stated,
   2 and on those grounds denies generally and specifically each and every allegation
   3 contained therein.
   4                 40.            Answering paragraph 40 of the Complaint, under header "Third Claim for
   5 Relief": Defendant does not have sufficient knowledge, or information or belief, to
   6 enable Defendant to answer the allegations contained within this paragraph, as stated,
   7 and on those grounds denies generally and specifically each and every allegation
   8 contained therein.
   9                 41.            Answering paragraph 41 of the Complaint, under the header "Third Claim
  10 for Relief": Defendant does not have sufficient knowledge, or information or belief, to
  11 enable Defendant to answer the allegations contained within this paragraph, as stated,
  12 and on those grounds denies generally and specifically each and every allegation
  13 contained therein. Answering further, Defendant denies that it is liable for any and all
  14 injuries alleged by plaintiffs. Defendant also denies that plaintiffs are entitled to any
  15 relief.
  16                 42.            Answering plaintiffs' Prayer for Relief, Defendant denies all liability to
  17 plaintiffs, including, but not limited to, all liability for any damages (general, special,
  18 exemplary or otherwise), penalties, fees, or costs of any kind, or for any relief of any
  19 kind from Defendant to the plaintiffs.
  20                 43.            To the extent plaintiffs assert any other claims or contentions not
  21 specifically addressed herein above, Defendant generally and specifically denies each
  22 and every remaining allegation and/or claim.
  23                                                                AFFIRMATIVE DEFENSES
  24                 44.            As separate and affirmative defenses, defendant alleges as follows:
  25                                                        FIRST AFFIRMATIVE DEFENSE
  26                                                                       (Statute of Limitations)
  27                 45.            Plaintiffs' Complaint, and each alleged cause of action in it, fails to state a
  28 claim upon which relief can be granted.

                                                     9               Case No. 5:18-cv-00762-DMG-SP
       G:\docsdata\EPR\Najera, et al. v. Riverside 4410-55180\Pleadings\Answer.01.Najera.docx

                    ANSWER OF DEFENDANT TO PLAINTIFFS' COMPLAINT: DEMAND FOR JURY TRIAL
Case 5:18-cv-00762-DMG-SP Document 20 Filed 07/17/18 Page 10 of 15 Page ID #:71




   1                 46.            Plaintiffs' Complaint also fails to state a claim against any defendant in this
   2 action.
   3                 47.            Plaintiffs' claims are time-barred by the operative statute(s) of limitations
   4 (including, but not limited to, California Code of Civil Procedure § 335.1).
   5                                                     SECOND AFFIRMATIVE DEFENSE
   6                                                                  (Tort Claims Act Violation)
   7                 48.            This action is barred by the Plaintiffs' failure to comply with the
   8 government tort claims presentation requirements, California Government Code § 900,
   9 et seq., including but not limited to §§ 900, 900.4, 901, 905, 905.2, 910, 911, 911.2,
  10 911.4, 945.4, 945.6, 946.6, 950.2, and 950.6, to the extent applicable.
  11                 49.            The Complaint is barred based on plaintiffs' failure to exhaust
  12 administrative remedies prior to filing this lawsuit.
  13                 50.            Plaintiffs' recovery is barred for failure to timely comply with the
  14 provisions of the claims statutes, including, but not limited to California Government
  15 Code §§ 901, 905, 905.2, 911.2, 945.4, 945.6, 950.2.
  16                 51.            Plaintiffs' recovery is barred because the causes of action stated in the
  17 complaint do not correspond with the legal claims asserted in plaintiffs' written claim.
  18 The Complaint thereby alleges legal bases for recovery which are not fairly reflected in
  19 the written claim.
  20                                                       THIRD AFFIRMATIVE DEFENSE
  21                                                         (Waiver, Estoppel, Unclean Hands)
  22                 52.            Defendant alleges that plaintiffs' actions are barred by reason of conduct,
  23 actions and inactions of plaintiffs which amounts to and constitutes a waiver of any
  24 right plaintiffs may or might have had in reference to the matters and things alleged in
  25 the Complaint, or that otherwise estop plaintiffs from recovery in this action, including
  26 but not limited to the doctrine of unclean hands.
  27 ///
  28 ///

                                                    10               Case No. 5:18-cv-00762-DMG-SP
       G:\docsdata\EPR\Najera, et al. v. Riverside 4410-55180\Pleadings\Answer.01.Najera.docx

                    ANSWER OF DEFENDANT TO PLAINTIFFS' COMPLAINT: DEMAND FOR JURY TRIAL
Case 5:18-cv-00762-DMG-SP Document 20 Filed 07/17/18 Page 11 of 15 Page ID #:72




   1                                                    FOURTH AFFIRMATIVE DEFENSE
   2                                                               (Failure to Mitigate Damages)
   3                 53.            Plaintiffs' claims are barred or limited to the extent plaintiffs failed to
   4 mitigate plaintiffs' injuries or damages, if there were any. Plaintiffs have failed to
   5 mitigate the damages, if any, which plaintiffs have sustained, and to exercise reasonable
   6 care to avoid the consequences of harms, if any, in that, among other things, plaintiffs
   7 have failed to use reasonable diligence in caring for any injuries, failed to use
   8 reasonable means to prevent aggravation of any injuries and failed to take reasonable
   9 precautions to reduce any injuries and damages.
  10                                                        FIFTH AFFIRMATIVE DEFENSE
  11                                             (Contributory and/or Comparative Liability)
  12                 54.            Plaintiffs'                   claims                  are   barred   or   limited   by   plaintiffs'
  13 contributory/comparative negligence or other conduct, acts, or omissions, and to the
  14 extent any plaintiff suffered any injury or damages, it was the result of plaintiff's own
  15 negligent or deliberate actions or omissions.
  16                 55.            Plaintiffs' recovery is barred because any injury or damage suffered by any
  17 plaintiff was caused solely by reason of the plaintiff's wrongful acts and conduct and
  18 the willful resistance to a peace officer in the discharge of their duties. The conduct set
  19 forth in the Complaint, if and to the extent it occurred, was privileged and justified and
  20 done with a good faith belief that it was correct and no action may be taken against the
  21 answering defendant on account of such conduct.
  22                                                        SIXTH AFFIRMATIVE DEFENSE
  23                                  (Public Entity/Employee Immunity for Others' Torts)
  24                 56.            Plaintiffs' recovery is barred because public entities and employees are
  25 immune from liability for any injury caused by the act or omission of another person.
  26 Gov. Code §§ 815 et seq., 820.2 et seq.
  27                 57.            The answering defendant is informed and believes and thereon alleges that
  28 if any plaintiff sustained any injury or damages, such injury or damages was solely

                                                    11               Case No. 5:18-cv-00762-DMG-SP
       G:\docsdata\EPR\Najera, et al. v. Riverside 4410-55180\Pleadings\Answer.01.Najera.docx

                    ANSWER OF DEFENDANT TO PLAINTIFFS' COMPLAINT: DEMAND FOR JURY TRIAL
Case 5:18-cv-00762-DMG-SP Document 20 Filed 07/17/18 Page 12 of 15 Page ID #:73




   1 caused or contributed to by the wrongful conduct of other defendants and/or entities or
   2 persons other than the answering defendant. To the extent that plaintiff's damages were
   3 so caused, any recovery by plaintiff as against the answering defendant should be
   4 subject to proportionately comparative equitable indemnity/contribution from such
   5 third parties.
   6                                                   SEVENTH AFFIRMATIVE DEFENSE
   7                            (Public Entity/Employee Immunity for Discretionary Acts)
   8                 58.            There is no liability for any injury or damages, if any there were, resulting
   9 from an exercise of discretion vested in a public employee, whether or not such
  10 discretion be abused. Gov. Code § 815.2, 820.2, 820.4, 820.8, 820 et seq.
  11                 59.            Plaintiffs' recovery is barred because public entities and employees are
  12 immune from liability for discharging their mandatory duties with reasonable diligence.
  13                 60.            A public employee may not be held liable for injuries or damages, if any,
  14 caused by failure to adopt or by adoption of an enactment or by failure to enforce an
  15 enactment and/or law, for an injury caused by his issuance, denial, suspension or
  16 revocation or by his failure or refusal to issue, deny, suspend or revoke, any permit,
  17 license, certificate, approval, order, or similar authorization, where he is authorized by
  18 enactment to determine whether or not such authorization should be issued, denied,
  19 suspended or revoked, pursuant to Government Code §§ 818.2, 818.4, 818.8, 821 and
  20 821.2. Based thereon, each of the answering defendants are immune from liability for
  21 any injuries claimed by plaintiff, herein.
  22                 61.            Defendant is immune for any detriment resulting from any of its actions or
  23 omissions at the time of the incident of which plaintiff(s) complains pursuant to
  24 Government Code § 810 et seq., 815 et seq., 820 et seq., and 845 et seq., including, but
  25 not limited to, §§ 810, 810.2, 810.4, 810.6, 810.8, 811, 811.2, 811.4, 811.6, 811.8,
  26 820.6, 820.8, 821, 821.2, 821.4, 821.6, 821.8, 822.2, 830.5, 830.6, 835.4, 844.6, and
  27 Government Code §§ 854, et seq., including, but not limited to, §§ 845.6, 854.6,
  28 854.8(a)(2), and §§ 855.4, 855.6, 855.8 and 856.4.

                                                    12               Case No. 5:18-cv-00762-DMG-SP
       G:\docsdata\EPR\Najera, et al. v. Riverside 4410-55180\Pleadings\Answer.01.Najera.docx

                    ANSWER OF DEFENDANT TO PLAINTIFFS' COMPLAINT: DEMAND FOR JURY TRIAL
Case 5:18-cv-00762-DMG-SP Document 20 Filed 07/17/18 Page 13 of 15 Page ID #:74




   1                                                     EIGHTH AFFIRMATIVE DEFENSE
   2                                                                     (Public Entity Immunity)
   3                 62.            To the extent that the Complaint attempts to predicate liability upon any
   4 public entity defendant or any employees thereof for purported negligence in retention,
   5 hiring, employment, training, or supervision of any public employee, such liability is
   6 barred by Government Code sections 815.2 and 820.2 and Herndon v. County of Marin
   7 (1972) 25 Cal. App. 3d 933, 935, 936, rev’d on other grounds by Sullivan v. County of
   8 Los Angeles (1974) 12 Cal.3d 710; and by the lack of any duty running to any plaintiff;
   9 by the fact that any such purported act or omission is governed exclusively by statute
  10 and is outside the purview of any public employees’ authority; and by the failure of any
  11 such acts or omissions to be the proximate or legal cause of any injury alleged in the
  12 Complaint. See de Villers v. County of San Diego, 156 Cal.App.4th 238, 251-253, 255-
  13 256 (2007).
  14                 63.            Defendant may not be held liable on a respondeat superior theory for any
  15 negligent or wrongful act or omission on the part of any subordinate. Cal. Government
  16 Code §§ 844.6, 845.6; Cal. Civil Code § 2351; Malloy v. Fong (1951) 37 Cal.2d 356,
  17 378-379; Monell v. Department of Social Services of the City of New York (1978) 436
  18 U.S. 658; Larez v. City of Los Angeles (9th Cir. 1991) 946 F.2d 630, 645-646; cf. City
  19 of Canton v. Harris, 489 U.S. 378, 388-389 (1989); City of Los Angeles v. Heller, 475
  20 U.S. 796 (1986).
  21                                                       NINTH AFFIRMATIVE DEFENSE
  22                                           (Qualified Immunity & Good Faith Immunity)
  23                 64.            Defendant and its agents or officers at all times relevant to this action
  24 acted reasonably and prudently under the circumstances. Defendant therefore asserts
  25 the individual defendant's Qualified Immunity from liability to the fullest extent
  26 applicable.
  27                 65.            Defendant is immune from liability under the Federal Civil Rights Act
  28 because it acted in good faith with an honest and reasonable belief that its actions were

                                                    13               Case No. 5:18-cv-00762-DMG-SP
       G:\docsdata\EPR\Najera, et al. v. Riverside 4410-55180\Pleadings\Answer.01.Najera.docx

                    ANSWER OF DEFENDANT TO PLAINTIFFS' COMPLAINT: DEMAND FOR JURY TRIAL
Case 5:18-cv-00762-DMG-SP Document 20 Filed 07/17/18 Page 14 of 15 Page ID #:75




   1 necessary and appropriate. Defendant is immune from liability under the Federal Civil
   2 Rights Act because a reasonable police officer could believe that their acts and conduct
   3 were appropriate. Defendant is immune from liability under the Federal Civil Rights
   4 Act because its conduct did not violate clearly established rights. Defendant is also
   5 immune from liability under the doctrine of Qualified Immunity.
   6                 66.            At all relevant times, defendant acted within the scope of discretion, with
   7 due care, and good faith fulfillment of responsibilities pursuant to applicable statutes,
   8 rules and regulation, within the bounds of reason, and with the good faith belief that
   9 their actions comported with all applicable federal and state laws. Harlow v. Fitzgerald
  10 (1982) 457 U.S. 800; Cal Gov. Code §§ 815.2 and 820.2.
  11                                                       TENTH AFFIRMATIVE DEFENSE
  12                                                                          (Assumption of Risk)
  13                 67.            At the time and place referred to in the Complaint, and before such event,
  14 plaintiffs knew, appreciated, and understood each and every risk involved in placing
  15 himself in the position which plaintiff then assumed, and willingly, knowingly and
  16 voluntarily assumed each of such risks, including, but not limited to, the risk of
  17 suffering personal bodily injury, lawful deprivation of right(s), or death.
  18                                                 ELEVENTH AFFIRMATIVE DEFENSE
  19                                                                                       (Standing)
  20                 68.            Plaintiffs lack standing to commence this action as decedent’s successor-
  21 in-interest by Plaintiffs' failure to comply with the pleading requirements of California
  22 Code of Civil Procedure § 377.10, et seq., including but not limited to §§ 377.10;
  23 377.11; 377.30; 377.31; and 377.32, to the extent applicable. Plaintiffs have not filed
  24 the necessary affidavit under penalty of perjury, nor have Plaintiffs included the
  25 required certified copy of decedent’s certificate of death as required by California law.
  26                 69.            Defendant contends that as asserted in this action, in Plaintiff's individual
  27 capacity, Plaintiff(s) lacks standing to commence any wrongful death claims within the
  28 meaning of California Code of Civil Procedure § 377.60, et seq., including but not

                                                    14               Case No. 5:18-cv-00762-DMG-SP
       G:\docsdata\EPR\Najera, et al. v. Riverside 4410-55180\Pleadings\Answer.01.Najera.docx

                    ANSWER OF DEFENDANT TO PLAINTIFFS' COMPLAINT: DEMAND FOR JURY TRIAL
Case 5:18-cv-00762-DMG-SP Document 20 Filed 07/17/18 Page 15 of 15 Page ID #:76




   1 limited to §§ 377.60 and 377.61, to the extent applicable to decedent’s alleged wrongful
   2 death. Plaintiff(s) has not pleaded any facts sufficient or tending to establish that
   3 Plaintiff, and Plaintiff only, is decedent’s heir and/or personal representative as required
   4 by California law.
   5                                                  TWELFTH AFFIRMATIVE DEFENSE
   6                 70.            Defendant contends that it cannot fully anticipate all affirmative defenses
   7 that may be applicable to this action based on the conclusory terms used in Plaintiffs'
   8 complaint. Accordingly, Defendant expressly reserves the right to assert additional
   9 affirmative defenses if and to the extent that such affirmative defenses become
  10 applicable.
  11                                                                      PRAYER FOR RELIEF
  12 WHEREFORE, the answering Defendant prays as follows:
  13                 1.             That Plaintiffs take nothing by this action;
  14                 2.             That Defendant be awarded attorneys’ fees and costs of this suit and costs
  15 of proof; and that Defendant be awarded such other relief as the Court deems just.
  16
  17                                                                               JURY DEMAND
  18                 Defendant demands a trial by jury as to each issue triable by jury.
  19
  20 DATED: July 17, 2018                                                                MANNING & KASS
                                                                                         ELLROD, RAMIREZ, TRESTER LLP
  21
  22
  23                                                                                     By:          /s/ Eugene P. Ramirez
  24                                                                                            Eugene P. Ramirez
                                                                                                Tony M. Sain, Esq.
  25
                                                                                                Andrea K. Kornblau, Esq.
  26                                                                                            Attorneys for Defendant,
  27                                                                                            COUNTY OF RIVERSIDE

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                                                    15               Case No. 5:18-cv-00762-DMG-SP
       G:\docsdata\EPR\Najera, et al. v. Riverside 4410-55180\Pleadings\Answer.01.Najera.docx

                    ANSWER OF DEFENDANT TO PLAINTIFFS' COMPLAINT: DEMAND FOR JURY TRIAL
